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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------
                                                             )
In re:                                                       )   Case No. 12-12020 (MG)
                                                             )
RESIDENTIAL CAPITAL, LLC, et al.,                            )   Chapter 11
                                                             )
                                    Debtors.                 )   Jointly Administered
                                                             )
----------------------------------------------------------

             ORDER OF FINAL DECREE PURSUANT TO SECTION 350(A) OF
               THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022
              CLOSING CERTAIN OF THE DEBTORS’ CHAPTER 11 CASES

                 This Court having considered the motion (the “Motion”)1 of the ResCap

Liquidating Trust (the “Liquidating Trust”), successor in interest to the debtors (the “Debtors”) in

the above-captioned chapter 11 cases (the “Chapter 11 Cases”), for a final decree in the Chapter

11 Cases of GMAC Mortgage, LLC (Case No. 12-12032) and Residential Funding Company, LLC

(Case No. 12-12019) (the “Closing Debtors”) as more fully set forth in the Motion; and the Court

having subject matter jurisdiction to consider the Motion and the relief requested therein pursuant

to 28 U.S.C. § 1334 and the Amended Standing Order of Referral of Cases to Bankruptcy Court

Judges of the District Court for the Southern District of New York, dated January 31, 2012 (Preska,

C.J.); and the Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Motion having been provided, and no other or further notice need be provided; and the relief

requested in the Motion being in the best interests of the Debtors and their estates and creditors,

and the Court having reviewed the Motion; and the Court having determined that the legal and




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
terms in the Motion.
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factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

of the proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor;

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is granted as provided herein.

                2.      Pursuant to section 350(a) of the Bankruptcy Code and Rule 3022 of the

Bankruptcy Rules, a final decree is hereby entered in the cases of the Closing Debtors (GMAC

Mortgage, LLC (Case No. 12-12032) and Residential Funding Company, LLC (Case No. 12-

12019), and such cases are closed.

                3.      The Liquidating Trust shall provide the Office of the United States Trustee

with an estimate of the disbursements made by the Closing Debtors from the Petition Date through

the date hereof, and the Liquidating Trust shall pay any fees owing under 28 U.S.C. § 1930(a)(6)

in connection therewith. The Debtors shall continue to report disbursements and pay any fees

owing under 28 U.S.C. § 1930(a)(6) on a quarterly basis for the Chapter 11 Cases of Residential

Capital, LLC.

                5.      This Court shall have jurisdiction with respect to issues arising in

connection with the Plan or under this Final Decree.

NO OBJECTION:

OFFICE OF THE UNITED STATES TRUSTEE
SOUTHERN DISTRICT OF NEW YORK

By:    /s/ Brian S. Masumoto
           Trial Attorney
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IT IS SO ORDERED.
Dated: December 6, 2018
       New York, New York

                                    _____/s/ Martin Glenn_______
                                           MARTIN GLENN
                                    United States Bankruptcy Judge
